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                    Exhibit A
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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


    In Re: New York City Policing
    During Summer 2020 Demonstrations                          20 Civ. 8924 (CM)(GWG)


    This filing is related to:

    ALL CASES



              PLAINTIFFS’ FIRST CONSOLIDATED SET OF REQUESTS FOR
                 PRODUCTION OF DOCUMENTS TO ALL DEFENDANTS

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and Rule 26.3 of the

Local Civil Rules of the United States District Court for the Southern and Eastern Districts of

New York, plaintiffs in these consolidated actions1 (“Plaintiffs”) request that defendants City of

New York, Mayor Bill de Blasio, New York City Police Department (“NYPD”) Police

Commissioner Dermot F. Shea, and other defendants named in the pleadings in these actions

(“Defendants”) produce for examination, inspection and copying, within thirty (30) days of the

service hereof, or such shorter time as the Court orders or the parties stipulate, all documents

described below at the New York State Office of the Attorney General, Civil Rights Bureau, 28

Liberty Street, 20th Floor, New York, New York 10005, or at such other place or time, or in

such other manner, as the parties mutually agree.




1
 Pursuant to the Court’s February 22, 2021 Order (ECF No. 40), the following cases have been consolidated for
pretrial purposes: Payne, et al, v. Mayor Bill De Blasio, No. 20 Civ. 8924; Sierra, et al, v City of New York, No. 20
Civ. 10291; Wood v. City of New York, No. 20 Civ. 10541; People of the State of New York v City of New York, No.
21 Civ. 322; Sow, et al, v. City of New York, 21 Civ. 533; and Yates v. City of New York et al, 21 Civ. 1904.
Plaintiffs in all consolidated actions hereby serve their first consolidated set of Requests for Production of
Documents to all Defendants in the consolidated actions without prejudice to plaintiffs in any of these actions
supplementing these consolidated Requests with additional case-specific Requests for Production of Documents.
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                                     DEFINITIONS

1. Plaintiffs incorporate by reference herein the Uniform Definitions in Discovery Requests

   set out in Rule 26.3(c) of the Local Civil Rules of the United States District Court for the

   Southern and Eastern Districts of New York (the “Local Civil Rules”).

2. “Arrest” means an Officer’s seizure, detention, or arrest of a person, including but not

   limited to for the purpose of issuing them a C-Summons (“summons”) or Desk

   Appearance Ticket (“DAT”) or fully processing them for arraignment.

3. “Complaints” means the Complaint, or any superseding amended Complaint, filed in

   each of these consolidated actions: Payne, et al, v. Mayor Bill De Blasio, No. 20 Civ.

   8924; Sierra, et al, v. City of New York, No. 20 Civ. 10291; Wood v. City of New York,

   No. 20 Civ. 10541; People of the State of New York v. City of New York, No. 21 Civ. 322;

   and Sow, et al, v. City of New York, 21 Civ. 533; Yates v. City of New York et al, 21 Civ.

   1904 (together, the “Actions”).

4. “Date” means the exact day and time, month, and year if ascertainable, or if not, the best

   approximation (including relationship to other events).

5. “Defendants” include each and every defendant named in the Complaints.

6. “Document(s)” shall have the full meaning ascribed to it in Rule 34 of the Federal Rules

   of Civil Procedure and Local Civil Rule 26.3(c), and for purposes of these Requests shall

   be deemed to include “electronically stored information” (“ESI”) as also defined in Rule

   34. Examples of documents include, but are not limited to, all writings in any form,

   calendars, correspondence, diaries, manuals, memoranda, notes, log entries, reports,

   records, drawings, graphs, charts, photographs, sound recordings, images, video

   recordings, telephone records, Bloombergs, FINEST messages, electronic mail messages,

   telephonic text messages (including SMS and MMS, iMessages, WhatsApp messages and
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   all instant messages sent and received by whatever means or platform), spreadsheets,

   databases, all other forms of electronic communication, and other data or data

   compilations of whatever nature stored in any medium (including those from which

   information can be obtained or translated if necessary into a reasonably useable form).

   For the avoidance of doubt, document(s) shall include all originals of any nature

   whatsoever and all non-identical copies thereof, whether different from the originals by

   reason of any notation made on such copies or otherwise.

7. “Kettling,” “kettling tactics” or “encirclement” means any and all plans, methods,

   procedures, tactics, strategies, or approaches, by whatever name or characterization,

   utilized by NYPD to control crowds, address disorderly conduct, and/or effectuate mass

   arrests and detentions, whether intentional or not, whereby Officers physically surround

   or otherwise contain members of the public within an area, leaving them few or no routes

   of egress without direct contact with Officers.

8. “Legal Observer” means an individual who attends a public demonstration to observe and

   document interactions between law enforcement and demonstrators.

9. “Officer” means a member of service of the NYPD, regardless of rank, including but not

   limited to any and all officers, detectives, sergeants, lieutenants, captains, chiefs, and/or

   deputy commissioners.

10. “Person” means any natural person, association, business, group, organization, legal

   entity, government entity, or other entity.

11. “Protests” means any and all protests, demonstrations, or gatherings at the Protest

   Locations identified on the attached Schedule A and/or referenced in any of the

   Complaints.


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12. “Protest-Related Violation or Offense” means an alleged violation of any of the following

   laws during a demonstration or protest: New York State Vehicle and Traffic Law

   (“VTL”) Section 1156(a) (Pedestrians in Roadways); New York State Penal Law (“PL”)

   Section 240.05 (Riot in the Second Degree); PL Section 240.10 (Unlawful Assembly);

   PL Section 205.30 (Resisting Arrest); PL Section 195.05 (Obstruction of Governmental

   Administration in the Second Degree); PL Section 240.20(5) (Disorderly Conduct –

   Blocking Vehicular or Pedestrian Traffic); PL Section 240.20(6) (Disorderly Conduct –

   Refusing to Obey a Lawful Dispersal Order); New York City Administrative Code

   (“NYAC”) Section 3-108 (Executive Order Violation); and NYAC Section 10-110(c)

   (Parading Without a Permit), and any other offenses with which any individual who

   participated in any Protested was actually Arrested for and/or charged.

                                    INSTRUCTIONS

1. In addition to following the rules of construction in Rule 26.3(d) of the Local Civil Rules,

   whenever necessary to bring within the scope of these Requests Documents that might

   otherwise be construed to be outside its scope: (a) the use of a verb in any tense shall be

   construed as the use of that verb in all other tenses; and (b) the use of the feminine,

   masculine, or neuter genders shall include all genders.

2. No paragraph herein shall be construed with reference to any other paragraph for the

   purpose of limitation.

3. Unless otherwise indicated, the relevant time period for purposes of these Requests is

   between January 1, 2018, and the present.

4. All Documents shall be produced in the manner in which they are maintained in the usual

   course of business. A request for a Document shall be deemed to include a request for

   any and all file folders or binders within which the Document was contained, transmittal
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   sheets, cover letters, exhibits, enclosures, or attachments to the Document in addition to

   the Document itself.

5. Any Request that calls for production of specific documents or forms where the

   information contained within such documents or forms is maintained in electronic

   databases or similar repositories, Plaintiffs request production of the underlying data in

   lieu of the documents or forms themselves, unless the documents or forms contain

   additional or unique information, in which case the Request encompasses both the

   underlying data and the documents and forms.

6. Provide all ESI in the forms and manner specified in the attached Schedule B - ESI

   Production Specifications.

7. In the event Defendants withhold any Document called for by these Requests on the basis

   of a claim of privilege, Defendants shall provide the information required by Rule 26.2 of

   the Local Civil Rules.

8. In the event that any Document called for by these Requests has been destroyed or

   discarded, Defendant shall provide an affidavit by a person with personal knowledge

   identifying the Document so lost, discarded, or destroyed as completely as possible,

   providing at least the following information: (i) the type of Document withheld; (ii) any

   author, addressor and/or addressee; (iii) any indicated or blind copy recipients; (iv) the

   Document’s date, subject matter, number of pages, and attachments or appendices; (v) all

   persons to whom the Document was distributed, shown or explained; (vi) the Document’s

   date of destruction or discard, manner of destruction or discard, and reason for

   destruction or discard; and (vii) the persons authorizing and carrying out such destruction

   or discard.


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   9. If objection is made to any of the Requests, the response shall state whether documents

       are being withheld from inspection and production on the basis of such objection, or

       whether inspection and production of the responsive Documents will occur

       notwithstanding such objection.

   10. If there are no Documents responsive to any particular request, the response shall state so

       in writing.

   11. These Requests are continuing in nature. In accordance with Rule 26(e) of the Federal

       Rules of Civil Procedure, Defendants are required promptly to serve supplementary

       responses and produce additional documents if Defendants obtain further or different

       information.

                                 DOCUMENTS REQUESTED

Request No. 1:

Provide all Documents concerning policies, procedures, directives, and training materials

promulgated by NYPD relating to Officers’ treatment of and response to demonstrations and

protests (including mass protests), crowd control, crowd management, and/or “disorder control”

that were created and/or in force prior to May 28, 2020, including, but not limited to, policies

concerning:

    a) Officers’ use of tactics or objects to control crowds during a demonstration or protest;

    b) Officers’ use of force during a demonstration or protest;

    c) Use of force reporting and investigations related to uses of force during a demonstration

        or protest;

    d) Officers’ use of batons or other instruments during a demonstration or protest;




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e) Officers’ tactical use of other objects, such as shields and bicycles, during a

   demonstration or protest;

f) Officers’ use of Oleoresin Capsicum (also known as “OC” or “pepper spray”) during a

   demonstration or protest;

g) Technical Assistance Response Unit (“TARU”) video and audio recording related to a

   demonstration or protest;

h) Strategic Response and Strategic Response Group (“SRG”) operations;

i) Disorder Control Training;

j) Officers’ use of body worn cameras during a demonstration or protest;

k) Officers’ use of zip-ties or flex cuffs during a demonstration or protest;

l) Officers’ use of Kettling during a demonstration or protest;

m) Officers’ interaction with, and treatment of, Legal Observers during a demonstration or

   protest;

n) Officers’ interaction with, and treatment of, journalists, reporters, photographers, and

   members of the press during a demonstration or protest;

o) Officers’ enforcement of any applicable curfews in place during a demonstration or

   protest;

p) Incident command, chain of command, and command and control during a

   demonstration or protest;

q) Facilitation, accommodation, and escort of demonstrations or protests;

r) First Amendment, Fourth Amendment, and Fourteenth Amendment principles applicable

   to policing demonstrations or protests, including the requirements that content-neutral

   restrictions on speech are narrowly tailored and provide ample alternatives for


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   expression, as well as the need to provide fair warning before making certain Arrests or

   engaging in certain uses of force;

s) The need to give dispersal orders and a meaningful opportunity to comply with them

   before making certain Arrests at a demonstration or protest;

t) Policies, procedures, or protocols relating to racial profiling;

u) Officers’ use of race in law enforcement decisions and/or implicit bias;

v) Officers’ use of racial slurs or epithets;

w) Officers’ affiliation with or participation in groups or website that promote racists views;

x) Officers’ Arrest of individuals during a demonstration or protest, including procedures

   for effecting and processing large-scale or mass arrests;

y) Probable cause to Arrest for a Protest-Related Violation or Offense;

z) Discretion to Arrest for a Protest-Related Violation or Offense;

aa) When to process an Arrest for a Protest-Related Violation or Offense for release with a

   summons or Desk Appearance Ticket, or for arraignment, including during a

   demonstration or a protest;

bb) Officers’ transportation of people Arrested during or after a demonstration or protest;

cc) Officers’ use of mass or large-scale arrest processing (including the use of a Mass Arrest

   Processing Center), including related to a demonstration or a protest;

dd) Officers’ provision of medical aid to civilians injured during a demonstration or protest;

ee) Officers’ wearing of face coverings when interacting with the public during or after a

    demonstration or protest, including during arrest processing; and

ff) Any other policies, procedures, directives or training associated with policing large-scale

   events, including protests, demonstrations, and events involving civil disobedience.


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Request No. 2:

Provide all Documents concerning policies, procedures, directives, and training materials

promulgated by NYPD during or after the Protests and relating to any and all subjects described

in Request No. 1, including but not limited to training provided during or after October 2020,

including recordings of such training, and any critique, evaluation, or review of the effectiveness

of such training.

Request No. 3:

Provide all Documents concerning policies, procedures, directives, and training materials

relating to any and all subjects described in Request No. 1 promulgated during or following any

protest events in the past 10 years concerning the deaths of persons in police custody or whose

deaths were otherwise caused by an Officer, including, but not limited to, Ramarley Graham,

Akai Gurley, Eric Garner, Delrawn Small, and Sean Bell.

Request No. 4:

Provide all Documents concerning policies, procedures, directives, and training materials

relating to any and all subjects described in Request No. 1 promulgated during or following

protests regarding the 2004 Republican National Convention or any of the lawsuits related to the

policing of those protests.

Request No. 5:

For any and all training materials, presentations, or other similar materials responsive to Request

Nos. 1-4 above, Documents sufficient to identify the dates trainings were held, all persons who

attended, any statistical reports of the ranks of members of the service that attended, and any

certifications issued to such attendees.



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Request No. 6:

For each Officer identified in response to Interrogatory No. 1 in Plaintiffs’ First Consolidated

Set of Interrogatories to All Defendants, provide Documents sufficient to show whether and, if

so, the date(s) that the Officer received training related to the subjects described in Request No.

1.

Request No. 7:

For each Protest Location listed in the attached Schedule A, Documents sufficient to identify

the intended roles or functions, deployments, commands, and instructions provided to each and

every Officer who was assigned to, or who responded to, the Protest Location, including but not

limited to documents identifying:

     a) The commanding Officer for each location;

     b) The full name, shield number, tax identification number, assigned command, and rank of

        each Officer deployed;

     c) Each Officer’s assignment post, including the assignment address and borough;

     d) Any and all Officers assigned to supervise or oversee such deployment;

     e) Any attorneys from either the NYPD or the NYC Law Department at each location;

     f) All Threat Response Inquiry (“TRI”), Officer Injury Reports, Complaints, or other

        written documentation of any kind related to such deployment;

     g) All Unusual Incident or Occurrence Reports (PD370-152; UF-49);

     h) All instructions or directives regardless of form regarding police equipment and

        uniforms (including disorder control gear, face coverings, and so-called “mourning

        bands”) to be worn or possessed by Officers during the assignment;




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    i) Any communications relating to the decision to deploy Officers from the SRG and any

       instructions or directives provided to the SRG or Officers assigned to such deployments.

Request No. 8:

For each Protest listed on the attached Schedule A, provide the following Documents:

   a) Any and all intelligence reports, threat assessments, and information compiled and/or

       reviewed in advance of and during the Protests, including all Documents reflecting

       Officers’ planning for policing the Protests, and any spreadsheets or other lists of

       “scheduled” and “unscheduled” events during the time period surrounding each Protest;

   b) Any and all communications, tactical decisions, intelligence alerts, policies or other

       directives issued by any Officer as a result of such intelligence reports, assessments, or

       other information pertaining to the Protests;

   c) News clips, social media postings, and internet links gathered by the NYPD, including

       but not limited to such information and records gathered or created by the Office of the

       Deputy Commissioner for Public Information (“DCPI”), the Intelligence Division, or

       otherwise, related to any Protest;

   d) Requests for detail, Operations Unit (including Detail Section) records, “204s”, “Who’s

       Who,” “Force Figures,” “Detail Overview,” roll calls, tactical plans, detail rosters,

       assignment sheets, internal communications, and other documents) concerning NYPD’s

       deployment or assignment of Officers and resources relating to the Protests;

   e) Command Log(s) and other records created as a result of or related to the operation any

       Incident Command Post utilized in connection with policing a Protest;

   f) Records reflecting whether and, if so, by whom, when, and to what extent, dispersal

       orders or other warnings and opportunities to disperse or comply were given before


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   enforcement action was taken at each Protest where force was used or detentions or

   Arrests were made;

g) All To/From Memoranda, Unusual Occurrence Reports, U.F. 49s, Mass Arrest Reports

   and/or any other Documents consisting of summaries, reviews, recaps, evaluations,

   critiques, after-action reports, or other reports following any Protest, including but not

   limited to Joint Operations Center reports;

h) All videos, including TARU videos, bodyworn camera videos, and Aviation Unit videos;

i) All audio recordings, including audio recordings of NYPD Citywide and other radio

   communications;

j) SPRINT reports related to recorded communications (and documents sufficient to

   decipher such SPRINT reports);

k) Internal NYPD communications, including, but not limited to, e-mails, text messages,

   records regarding telephone calls made or received;

l) Any and all TRI Reports, and any and all Incident Worksheets (PD370-154), and any and

   all TRI Incident-Investigating Supervisor’s Assessment Reports (PD370-154A), any and

   all TRI Interaction Reports, all Unusual Incident Reports, including any and all other

   Documents relating to such reports and worksheets;

m) Command Log(s) from each arrest processing location to which a person arrested in

   connection with a Protest was brought, including any Mass Arrest Processing Center

   (“MAPC”);

n) MAPC intake and processing records;




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   o) Documents sufficient to identify all Arrests by Officers based on alleged conduct

       occurring at each Protest Location, including Documents sufficient to identify the number

       of such Arrests voided by the NYPD;

   p) For any Officer who was injured during any Protest, any related Line of Duty injury

       paperwork, including but not limited to AIDED Report(s), witness statement(s), and

       medical records;

   q) For any non-Officer injured related to a Protest, all records related to such injury,

       including any AIDED Report, Medical Treatment of Prisoner Form, Central Booking

       Medical Screening Form, Ambulance Call Report, Computer Aided Dispatch, FDNY

       Pre-Hospital Care Report, and other documents related to such injury;

   r) Documents concerning press inquiries received by Defendants and/or press releases or

       statements to the press made by individual Defendants or their agents related to any

       Protest, including such statements made in electronic communications such as e-mail or

       text messages.

Request No. 9:

For each person identified in response to Interrogatory No. 6 in Plaintiffs’ First Consolidated

Set of Interrogatories to All Defendants, provide the following Documents:

   a) Any and all records created by Officers related to each person Arrested, including all

       arrest processing paperwork;

   b) Online Booking System (“OLBS”) Report (including handwritten/scratch version);

   c) Online Booking System Arrest Worksheet (PD244-159) (including handwritten/scratch

       version);

   d) Arrest Report – Supplement (PD244-157);


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e) Prisoner Pedigree Card (PD244-092);

f) Arrest processing photographs, including digital movement slips and photographs taken

   as part of NYPD large-scale or mass arrest processing;

g) Mass Arrest Pedigree Label (244-093);

h) Complaint Report (313-152) (including handwritten/scratch version);

i) Complaint Report Worksheet (313-152A) and Omniform Complaint Revision(including

   handwritten/scratch versions);

j) Online Prisoner Arraignment (“OLPA”) Report;

k) Property Clerk Invoice (521-141);

l) Records reflecting the disposition of property recorded in each such Property Clerk

   Invoice;

m) Medical Treatment of Prisoner (244-150);

n) Activity Logs (112-145) and other similar logs for the tour during which the incident

   occurred for any and all Officers involved;

o) Scratch and/or memo book or activity log entries for any and all officers involved;

p) C-Summons;

q) Desk Appearance Ticket (PD 260-121);

r) Desk Appearance Ticket Investigation Sheets (360-091);

s) Records provided to any local prosecutor;

t) DA Datasheets;

u) Decline to Prosecute Forms;

v) Criminal Court Complaint; and




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   w) Body worn camera footage associated with their Arrest, including associated audit trails

       and activity logs.

Request No. 10:

For each Protest Location listed in the attached Schedule A, provide Documents sufficient to

identify all persons stopped by Officers during the Protests, including:

   a) the date, time, and location of the encounter;

   b) the name, rank, shield number, and command of any and all Officers involved;

   c) the supervising Officer that made the decision and/or gave the order to stop the person;

   d) the identity of the person stopped; and

   e) the total number of stops disaggregated by race, date the stops occurred, and the precinct

       of the Officers involved.

Request No. 11:

For each Protest Location listed in the attached Schedule A, provide Documents sufficient to

identify all Arrests by Officers at such Protest Location, including but not limited to:

   a) the total number of Arrests;

   b) the total number of summonses related to those Arrests issued disaggregated by race, date

       the summons was issued, and the command of the issuing Officers;

   c) the total number of DATs issued elated to those Arrests disaggregated by race, date the

       DAT was issued, and the command of the issuing Officers;

   d) the total number of arrests processed on-line related to those Arrests disaggregated by

       race, date of arrest, and the command of the arresting Officers;

   e) the summons number, DAT number, and/or arrest number associated with each Arrest;




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   f) the full name, shield number, and tax identification number of the issuing or arresting

       Officer;

   g) the identity of the person Arrested;

   h) location where the Arrest occurred (i.e., borough and address);

   i) length of time of custodial detention, including date and time of stop and date and time of

       release;

   j) criminal charge(s); and

   k) disposition of any such charge(s).

Request No. 12:

Provide all Documents relating to policies, procedures, directives, and training materials

regarding use of force reporting and investigation, including the completion of the TRI Incident

Worksheets (370-154) and the TRI Incident-Investigating Supervisor’s Assessment Reports

(370-154A), including but not limited to the Data Entry Guide for Threat, Resistance or Injury

(TRI) Incident Worksheet (SP542).

Request No. 13:

For each Protest Location listed in the attached Schedule A, provide Documents sufficient to

identify each and every use of force by an Officer, including but not limited to information

sufficient to show:

   a) the type of force used;

   b) date/time when used;

   c) the full name, shield number, and tax identification number of the Officer using force;

   d) the assigned command of the Officer using force;

   e) supervising Officer(s);


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   f) whether the Officer was on-duty or off-duty;

   g) the location where the incident occurred (including borough);

   h) the race and gender of individual against whom force was used; and

   i) the factual circumstances surrounding the force used.

Request No. 14:

For each Protest Location listed in the attached Schedule A, provide all Documents concerning

any incidents currently or formerly under investigation or referred for internal investigation by

the NYPD (including but not limited to the Internal Affairs Bureau (“IAB”), the Chief of

Department (“COD”), Department Advocates Office, Office of the Chief of the Department,

Risk Management Bureau, and/or Patrol Bureau Investigations) including all related complaints,

log entries, record reviews, video and audio recordings, all recordings of interrogations of the

members of service, interviews of any and all non-members of service as well as members of

services, body-worn camera footage and associated audit trails and activity logs, and radio

transmissions, TARU recordings and any other recordings (such as Argus videos) and/or, and

any other Documents collected, considered, or reviewed, and any determinations, disciplinary

recommendations, settlement offers, case analysis, or other outcome recommendations made by

any person within the NYPD with respect to any occurrence that happened at such Protest

Location.

Request No. 15:

For each Protest Location listed in the attached Schedule A, provide all Documents concerning

any incidents currently or formerly under investigation or referred for investigation by the

Civilian Complaint Review Board (“CCRB”) including all related complaints, video (including

Argus video) and audio recordings, body-worn camera footage and radio transmissions,


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investigator notes and reports, and any other Documents collected, considered, or reviewed, and

any determinations, disciplinary recommendations, or other outcome recommendations made by

the NYPD or CCRB with respect to any occurrence that happened at such Protest Location.

Request No. 16:

For each Officer identified in response to Interrogatory Nos. 8 and/or 9 in Plaintiffs’ First

Consolidated Set of Interrogatories to All Defendants, all personnel-related records in the

possession of the NYPD or the City of New York, including but not limited to:

   a) Records reflecting the Officer’s histories as to CCRB and IAB investigations, as well as

       underlying records;

   b) The Academy Transcript and all training logs and other records reflecting the NYPD

       training each Officer received at the NYPD Academy and after graduating the NYPD

       Academy;

   c) Central Personnel Index (“CPI”) file records or similarly defined records;

   d) Any and all records concerning internal NYPD disciplinary action, letters in the

       personnel file, command discipline, chares and specifications, transfers, and/or warnings

       and admonishments;

   e) Performance profiles, or similarly defined records;

   f) Psychological Services Unit (“PSU”) records or similarly defined records;

   g) Risk Assessment Information Liability System (“RAILS”) records;

   h) Early warning or intervention records or similarly defined records;

   i) Supervisor complaint reports or command discipline election reports;

   j) Any and all letters requesting sealing of disciplinary records or charges;

   k) Any and all documents related to performance monitoring;


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   l)   Giglio profiles and/or similar resume providing information regarding all internal NYPD

        and CCRB complaints, investigations, and dispositions, including the Police

        Commissioner’s case analysis;

   m) Records from the Internal Affairs Bureau, Inspectional Services Division, Office of the

        Chief of the Department, or Department Advocates Office;

   n) The caption, complaint, and records reflecting the disposition of any and all lawsuits

        against each such Officer;

   o) To the extent not covered in the preceding sub-paragraphs, all Documents relating to any

        civilian or departmental-generated complaints of police misconduct, dereliction of duty

        or violation of the New York State penal laws or regulations of the NYPD, including but

        not limited, physical brutality, verbal abuse, and violence or abuse.

Request No. 17:

Provide all Documents concerning Officers receiving discipline for misconduct occurring during

the Protests, or who have been recommended to receive discipline for such misconduct.

Request No. 18:

Provide all Documents concerning communications from May 25, 2020 to present between and

among any and all NYPD personnel and personnel of the Office of the Mayor, including Mayor

de Blasio or his designees, and the Mayor’s Office of Criminal Justice, regarding NYPD’s

planning for and response to any protest anticipated to take place in New York City following

the death of George Floyd, including but not limited to the Protests.

Request No. 19:

Provide all Documents concerning communications about any protest anticipated to take place in

New York City following the death of George Floyd, including but not limited to the Protests,


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from May 25, 2020 to present, by Defendants Mayor de Blasio, Commissioner Shea, Chief

Monahan, and all Borough Commanders, and Deputy Commissioner of Intelligence John Miller.

Request No. 20:

Provide all documents received by, referenced, or reviewed by Mayor de Blasio, Commissioner

Shea, and/or Chief Monahan, Borough Commanders, Deputy Commissioner of Intelligence John

Miller, and Incident Commanders documenting occurrences and/or interactions between Officers

and civilians at any and all Protest Locations from May 28, 2020, to present.

Request No. 21:

For each Protest Location listed in the attached Schedule A, provide all communications

between and among any Officers supervising, commanding, or otherwise directing NYPD’s

response to the Protests at each Protest Location, including but not limited to communications

between and among Borough Commanders, SRG Command, and Deputy Commissioner of

Intelligence John Miller.

Request No. 22:

Provide all Documents, including all non-privileged communications, in Defendants’ possession

custody, or control concerning the December 30, 2020 Corporation Counsel Report Pursuant to

Executive Order 58 (June 20, 2020) Directing an Analysis of Factors Impacting the George

Floyd Protests in New York City, including any and all Documents received or reviewed by

Corporation Counsel in preparing such report.

Request No. 23:

Provide all Documents, including all non-privileged communications, in Defendants’ possession

custody, or control concerning the December 2020 Report by the New York City Department of




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Investigation (“DOI”) titled: Investigation into NYPD Response to the George Floyd Protests,

including any and all Documents received or reviewed by DOI in preparing such report.

Request No. 24:

Provide all Documents concerning any communications between any NYPD personnel,

including from the Community Affairs Bureau and/or any other neighborhood policing liaisons

and organizers of the Protests.

Request No. 25:

Provide all Documents concerning reports, reviews, communications, discussions, assessments,

and analyses, including but not limited to after-action reviews, Sentinel Event reviews, post-

mortem reviews, and project debriefs, concerning the NYPD’s deployment of officers to protests

related to Occupy Wall Street (2011-2012) and in response to the death of Eric Garner (2014-

2015).

Request No. 26:

Provide all Documents concerning the decision by then-District Judge Richard Sullivan

concerning defendant Monahan’s actions as reported in Dinler v. City of New York, No. 04 Civ.

7921 (RJS) (JCF), 2012 U.S. Dist. LEXIS 141851, at *27-39 (S.D.N.Y. Sept. 30, 2012),

including but not limited to discipline of defendant Monahan, changes in policies, directives,

orders, and/or instructions concerning group arrests.

Request No. 27:

Provide all Documents concerning the jury’s verdict against defendant Monahan in Abdell v. City

of New York, No. 05 Civ. 8453 (RJS) (S.D.N.Y.), including but not limited to discipline of

defendant Monahan.




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Request No. 28:

Provide all Documents concerning the payment of the punitive damages awarded in Abdell v.

City of New York, No. 05 Civ. 8453 (RJS) (S.D.N.Y.).

Request No. 29:

Provide all Documents concerning any disciplinary action taken regarding Deputy Inspector

Edward Winski concerning his actions during Occupy Wall Street protests, which were the

subject of several litigations: Vincent v. Winski, No. 14 Civ. 7744; Gersbacher v. Winski, No. 14

Civ. 7600.

Request No. 30:

Provide all Documents concerning any complaint made to, or investigation by the NYPD or

CCRB, of any NYPD officer displaying a “white power” symbol during any of the Protests listed

on the attached Schedule A.

Request No. 31:

Provide all Documents concerning any complaint made to or investigation by the NYPD or

CCRB, of any NYPD officer for making racist statements or for racist conduct, including but not

limited to, racial profiling.

Request No. 32:

Provide all Documents concerning any investigation into, or assessments of, NYPD officers’

possible affiliations with racist or white supremacist organizations, including but not limited to

IAB, Intelligence or Anti-terrorism unit investigations or assessments.

Request No. 33:

Provide all Documents concerning investigations into, or assessments of, NYPD officers’

possible affiliations with Proud Boys, Oath Keepers, Three Percenters, or other far-right or neo-


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Nazi organizations, including but not limited to IAB, Intelligence or Anti-terrorism unit

investigations or assessments.

Request No. 34:

All Documents concerning any investigation into NYPD officers’ participation in online far-

right/racist message boards, such as the Law Enforcement Rant site Deputy Inspector James

Kobel posted on (see Sierra First Amended Complaint at ¶¶ 166-168).

Request No. 35:

Provide all Documents concerning any discipline of any NYPD officer for use of racist language

during the Protests.

Request No. 36:

Provide all Unusual Incident reports (UF-49s), after-action reports, to/from memoranda, and

Mass Arrests Reports, made or maintained at any time, concerning the following protests:

   a) World Economic Forum protests in 2002;

   b) Republican National Convention protests in 2004;

   c) Occupy Wall Street in 2011 and 2012;

   d) Black Lives Matter protests between 2013 and 2020;

   e) Pro-Trump car caravans on November 1, 2020.

Request No. 37:

Provide all Documents concerning complaints, made at any time, alleging NYPD excessive force

and use of racial epithets during policing of each protest listed in Request No. 36.

Request No. 38:

Provide all Documents sufficient to identify all Arrests effected by Officers at each protest listed

in Request No. 36, including the following information:


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   a) the total number of Arrests;

   b) the total number of summonses related to those Arrests issued disaggregated by race, date

       the summons was issued, and the command of the issuing Officers;

   c) the total number of DATs issued elated to those Arrests disaggregated by race, date the

       DAT was issued, and the command of the issuing Officers;

   d) the total number of arrests processed on-line related to those Arrests disaggregated by

       race, date of arrest, and the command of the arresting Officers;

   e) the summons number, DAT number, and/or arrest number associated with each Arrest;

   f) the full name, shield number, and tax identification number of the issuing or arresting

       Officer;

   g) the identity of the person Arrested;

   h) location where the Arrest occurred (i.e., borough and address);

   i) length of time of custodial detention, including date and time of stop and date and time of

       release;

   j) criminal charge(s); and

   k) disposition of any such charge(s).

Request No. 39:

Provide all Documents reflecting NYPD policies and practices in effect during the Protests

regarding who is authorized to determine when a person related to a protest or demonstration

may be released with a Summons or DAT, including any relevant NYPD Patrol Guide

provisions.




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Request No. 40:

Provide all Documents reflecting NYPD policies and practices in effect during the Protests

regarding the steps involved in processing an Arrest for a Protest-Related Violation or Offense

outside of a protest or demonstration.

Request No. 41:

Provide all Documents reflecting NYPD policies and practices in effect during the Protests

regarding the steps involved in processing an Arrest for a Protest-Related Violation or Offense

related to a protest or demonstration.

Request No. 42:

Provide the Academy Transcript and all training logs and other records reflecting the NYPD

training each named Defendant received at the NYPD Academy and after graduating the NYPD

Academy.

Request No. 43:

For each and every dataset produced pursuant to these Requests or in response to any of

Plaintiffs’ Interrogatories, provide any and all data dictionaries identifying and defining all terms

and codes used in each field of the dataset.

Request No. 44:

Provide all documents identified or relied upon in responding to Plaintiffs’ Interrogatories served

in these Actions.




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 Dated: March 25, 2021


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                                 Schedule A: List of Protest Locations2

    Protest Date                   Approximate Location                            Complaint Allegations
    No.
    1       May 28, 2020           Lafayette Street to City Hall,         People, ¶ 51
                                   Manhattan                              Sow, ¶ 65
    2       May 28, 2020           Union Square, Manhattan                People, ¶¶ 128-132
                                                                          Payne, ¶ 44
                                                                          Sow, ¶ 65
    3       May 29, 2020           Foley Square Manhattan to Near         People, ¶¶ 52, 193-195,
                                   Barclays Center, Brooklyn via          196-202
                                   Brooklyn Bridge                        Payne, ¶ 45
                                                                          Sow, ¶ 65
                                                                          Wood, ¶¶ 45-47
    4       May 29, 2020           Clinton Hill, Brooklyn                 People, ¶¶ 52, 133-140,
                                                                          223-226
    5       May 29, 2020           Fort Greene, Brooklyn                  People, ¶ 52
    6       May 29, 2020           Bedford-Stuyvesant, Brooklyn           People, ¶¶ 141-149,
                                   (Herbert von King Park), Brooklyn      161-163
    7       May 29, 2020           Pacific Street and Flatbush Avenue,    People, ¶¶ 215-219
                                   Brooklyn                               Wood, ¶¶ 48-50
    8       May 29, 2020           Union Square, Manhattan                People, ¶ 52
    9       May 29, 2020           Herald Square, Manhattan               People, ¶ 52
    10      May 30, 2020           Jackson Heights, Queens                People, ¶ 53
    11      May 30, 2020           Park Slope, Brooklyn                   People, ¶ 53
    12      May 30, 2020           East Flatbush, Brooklyn                People, ¶¶ 53, 312-317
                                                                          Sow, ¶ 67
    13      May 30, 2020           Near Bedford & Tilden Aves.,           People, ¶¶ 178-192,
                                   Brooklyn                               235-236
    14      May 30-31,             Barclays Center to Flatbush Extension, People, ¶¶ 203-207,
            2020                   Brooklyn                               107-114
                                                                          Payne, ¶¶ 47-48, 107-
                                                                          115
    15      May 30, 2020           Harlem / West Side Highway,            People, ¶¶ 402-407
                                   Manhattan
    16      May 30, 2020           Union Square to FDR Drive/Lower        Payne, ¶¶ 50, 117-123
                                   East Side, Manhattan                   Sow, ¶¶ 130-151
    17      May 30, 2020           City Hall to Brooklyn Bridge,          Sow, ¶¶ 152-177
                                   Manhattan
    18      May 31, 2020           Near Barclays Center, Brooklyn         People, ¶ 54
                                                                          Sow, ¶ 68

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 The allegations listed in this table reference those in the Amended Complaints in People, No. 21 Civ. 322 (ECF
No. 51), Payne, No. 20 Civ. 8224 (ECF No. 54), Sierra, No. 20 Civ. 10291 (ECF No. 38), Sow, 21 Civ. 533 (ECF
No. 49) and Wood, 20 Civ. 10541 (ECF No. 48) and the Complaint in Yates, No. 21 Civ. 1904 (ECF No. 1).

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Protest Date           Approximate Location                   Complaint Allegations
No.
19      May 31, 2020   Downtown Brooklyn to multiple          People, ¶ 54
                       bridges
20      May 31, 2020   Brooklyn Bridge                        People, ¶ 54
21      May 31, 2020   From Manhattan Bridge to Chinatown,    People, ¶ 54
                       Church Avenue, and/or across Canal     Yates, ¶¶ 13-21
                       Street, Manhattan                      Wood, ¶¶ 51-54
22      May 31, 2020   Near Williamsburg Bridge, Manhattan    People, ¶ 54
23      May 31, 2020   Broadway to E. 11th St. & Near Union   People, ¶¶ 155-160,
                       Square, Manhattan                      231-234

                                                              Payne, ¶¶ 125-130
24      May 31, 2020   Times Square, Manhattan                People, ¶ 54
25      May 31, 2020   F.D.R. Drive, Manhattan                People, ¶¶ 208-210
26      June 1, 2020   Midtown, Manhattan                     People, ¶¶ 55, 227-230
                                                              Payne, ¶ 53
                                                              Sow, ¶¶ 208-219
27      June 1, 2020   East Village, Manhattan                People, ¶ 55
28      June 1, 2020   Near Union Square Park, Manhattan      People, ¶ 55
                                                              Payne, ¶ 53
29      June 1, 2020   Near Barclays Center, Brooklyn,        People, ¶ 55
                       Crossing Manhattan Bridge into Times   Sow, ¶¶ 180-206
                       Square & Near Port Authority,
                       Manhattan
30      June 1, 2020   Fordham Manor, Bronx                   People, ¶ 55
31      June 1, 2020   Astoria Park, Queens                   People, ¶ 55
32      June 1, 2020   Flushing, Queens                       People, ¶ 55
33      June 2, 2020   Lower Manhattan/Foley Square to        People, ¶¶ 56, 318-323
                       Central Park, Manhattan                Payne, ¶¶ 131-136
34      June 2, 2020   Union Square, Manhattan                People, ¶¶ 56
35      June 2, 2020   Near Barclays Center, Brooklyn to      People, ¶¶ 330-336
                       Manhattan Bridge
36      June 2, 2020   Upper West Side, Manhattan             People, ¶¶ 56, 423-430
37      June 2, 2020   Astor Place, Manhattan                 People, ¶ 56
38      June 2, 2020   Chelsea, Manhattan                     People, ¶ 56
                                                              Payne, ¶ 54
39      June 2, 2020   Near West Side Highway, Manhattan      Payne, ¶ 54
                                                              Sow, ¶¶ 220-237, 239-
                                                              282
40      June 2, 2020   Bryant Park to Midtown, Manhattan      People, ¶ 57
                                                              Wood, ¶¶ 55-59

41      June 3, 2020   Cadman Plaza, Brooklyn                 People, ¶¶ 57, 164-168,
                                                              337-346
                                                              Payne, ¶¶ 55, 143-159
                                        2
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Protest Date            Approximate Location                 Complaint Allegations
No.
                                                             Sow, ¶ 83
                                                             Wood, ¶¶ 65-66
42      June 3, 2020    Maria Hernandez Park, Brooklyn       People, ¶ 57
43      June 3, 2020    Midtown East/Upper East Side,        People, ¶¶ 57, 237-246,
                        Manhattan                            347-354
                                                             Sow, ¶ 84-85, 284-309
                                                             Wood, ¶¶ 60-64
44      June 4, 2020    Mott Haven, Bronx                    People, ¶¶ 58, 169-170,
                                                             247-255, 284-310, 366-
                                                             387
                                                             Wood, ¶¶ 116-167
                                                             Payne, ¶¶ 59-65, 161-
                                                             173, 182-192, 194-200
                                                             Sierra, ¶¶ 41-124
                                                             Sow, ¶¶ 86-93, 310-329,
                                                             332-345, 348-390, 392-
                                                             418
45      June 4, 2020    McCarren Park to South               People, ¶¶ 355-365
                        Williamsburg, Brooklyn               Payne, ¶¶ 58, 202-206
                                                             Wood, ¶¶ 67-68
                                                             Sow, ¶ 84-85
46      June 4, 2020    Clinton Hill and Prospect Heights,   People, ¶ 59
                        Brooklyn
47      June 4, 2020    Flatbush, Brooklyn                   People, ¶ 59
48      June 4, 2020    Brooklyn Bridge                      People, ¶ 59
49      June 4, 2020    Midtown, Manhattan                   People, ¶ 59
50      June 4, 2020    Flushing, Queens                     People, ¶ 59
51      June 4, 2020    Central Park West, Manhattan         People, ¶ 59
52      June 5, 2020    Crown Heights, Brooklyn              People, ¶ 60
53      June 5, 2020    Sunset Park, Brooklyn                People, ¶ 60
54      June 5, 2020    Staten Island                        People, ¶ 60
55      June 5, 2020    Near Gracie Mansion, Manhattan       People, ¶ 60
56      June 5, 2020    Barclays Center to Downtown          People, ¶ 60
                        Brooklyn
57      June 5, 2020    Nostrand Ave., Brooklyn              Payne, ¶ 71
58      June 6, 2020    Financial District, Manhattan        People, ¶ 61
59      June 7, 2020    Upper East Side, Manhattan           People, ¶ 61
60      June 8, 2020    Times Square, Manhattan              People, ¶ 61
61      June 14, 2020   Times Square, Manhattan              Payne, ¶ 74
62      June 28, 2020   Foley Square to West Village,        People, ¶ 62
                        Manhattan (incl. Washington Square   Payne, ¶¶ 78, 174-180,
                        Park)                                209-210
63      June 23-30,     City Hall Park, Manhattan            Payne, ¶ 74
        2020
                                         3
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Protest   Date              Approximate Location                   Complaint Allegations
No.
64        July 3, 2020      City Hall Park, Manhattan              People, ¶ 63
65        July 11, 2020     Dyker Heights, Brooklyn                Sow, ¶ 101
66        July 12, 2020     Bay Ridge, Brooklyn                    Sow, ¶ 102
67        July 15, 2020     Brooklyn Bridge Pedestrian Path        People, ¶¶ 408-421
68        July 28, 2020     Kips Bay, Manhattan                    People, ¶ 64
69        September 11,     McCarren Park, Brooklyn                People, ¶ 65
          2020
70        September 17,     Foley Square, Manhattan                Payne, ¶ 76
          2020
71        September 19,     Times Square, Manhattan                Payne, ¶ 77
          2020
72        September 26,     Washington Square Park and Near        People, ¶ 66
          2020              Sixth Precinct Stationhouse,
                            Manhattan
73        October 6, 2020   Borough Park, Brooklyn                 Sow, ¶ 103
74        October 7, 2020   Bedford-Stuyvesant, Brooklyn           People, ¶ 67
75        October 25,       Coney Island, Brooklyn to near Trump   Sow, ¶ 104
          2020              Tower, Manhattan, to Brooklyn Park
76        November 1,       Hell’s Kitchen, Manhattan              Sow, ¶ 105
          2020
77        November 4,       Washington Square Park, W. 8th and     People, ¶¶ 68, 388-389
          2020              Greenwich Ave., Manhattan
78        November 4,       Central Park to Union Square,          People, ¶ 68, 390-393
          2020              Manhattan                              Payne, ¶ 78
79        November 5,       West Village to Union Square,          People, ¶ 69
          2020              Manhattan                              Payne, ¶ 79
80        December 2,       Staten Island                          Sow, ¶ 106
          2020
81        December 11,      Downtown Brooklyn                      People, ¶ 70
          2020
82        January 12-16,    Downtown Brooklyn                      Payne, ¶ 138
          2021
83        January 18,       Barclays Center, Brooklyn to City Hall People, ¶¶ 71, 112-113
          2021              Park, Manhattan                        394-398
                                                                   Payne, ¶¶ 80, 139-140




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                          Schedule B: Production Specifications

1.    FILE FORMATS

1.1   Each document shall be provided with all of its attachments with family relationships
      indicated using the BegBatesAttach and EndBatesAttach metadata fields described in 4.1
      below. Delivery should be via secure file transfer to the following email addresses:
      travis.england@ag.ny.gov.

1.2   All documents shall be produced by custodian.

1.3   All documents shall be produced in standard single-page Group IV TIFF format (or, with
      respect to documents containing responsive information that is only coherently viewable
      in color, JPG format), except that the following shall be produced in native format:

      (a)    any audio, audiovisual, video, and any other file that is unreadable or has limited
             accessibility in the Group IV TIFF format;

      (b)    Microsoft Excel files and other spreadsheets; and

      (c)    Powerpoint files.

1.4   The parties shall meet and confer in good faith to determine a reasonable manner for
      producing the relevant information to the extent a response to discovery requires
      production of information contained in a database or any other format not reasonably
      producible in TIFF or native format.

1.5   Documents produced in TIFF format shall be produced with Bates numbers stamped on
      each page. Bates numbers shall be of constant length, be sequential across a document
      and its attachments, be unique across the entire production, and contain no special
      characters except dashes.

1.6   Any native files that are produced shall also be produced with a one-page Bates-
      numbered TIFF image slip-sheet stating “Document has been produced in native format.”

1.7   The responding party will make reasonable efforts to ensure that documents produced in
      TIFF format are readable. For good cause, the requesting party may request that
      documents originally produced in TIFF format be re-produced in native format, which
      request shall not unreasonably be denied. The requesting party shall identify documents
      for re-production by Bates number and provide an explanation of the need for native
      files.

1.8   The responding party will make reasonable efforts to process fully all documents for
      production. For any documents not fully processed, the responding party shall produce a
      TIFF image with the reason the document was not processed.

1.9   A Concordance-compatible load file and image load file (i.e., DAT and OPT load files)
      shall be included with each production.
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1.10   Any redactions applied to documents shall contain text indicating the basis for redaction
       (e.g., “Privileged”).

2.     EXTRACTED TEXT

2.1    For each document, the responding party shall provide a text file containing the text
       extracted directly from the native electronic version of that document, unless the
       document was redacted, is an image file, is a scanned hardcopy document, or is in
       another format from which text cannot be reasonably extracted. In these instances,
       provide a text file created using optical character recognition (OCR) to the extent
       reasonably practicable.

2.2    The text file name containing the extracted or OCR text should be named with the
       BegBates number of the document.

3.     DEDUPLICATION

3.1    A document is an exact duplicate of another document only if it and all its family
       members have the same MD5 or SHA-1 hash values as the other document and its family
       members.

3.2    If a document and its exact duplicates are associated with the same custodian, the
       responding party shall withhold the exact duplicates from production.

3.3    If a document and its exact duplicates are associated with different custodians, the
       responding party shall withhold the exact duplicates from production and provide a
       metadata field for the produced document indicating the custodians for whom duplicates
       were withheld.

4.     METADATA

4.1    For each document, the responding party shall provide the metadata specified below, to
       the extent they can reasonably be extracted or otherwise provided, in a delimited text file.

 Metadata Field           Description                                  Examples
 Production Metadata Fields for All Documents
 BegBates             Bates number for the first page of the           [Bates Prefix]-00000001
                      document
 EndBates                 Bates number for the last page of the        [Bates Prefix]-00000010
                          document
 BegBatesAtt              Bates number for the first page of the       [Bates Prefix]-00000001
                          parent document (i.e., an email or other
                          document containing attachments)
 EndBatesAtt              Bates number of the last page of the last    [Bates Prefix]-00000015
                          attachment to the parent document


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Metadata Field        Description                                   Examples
Custodians_All        Name of the custodian or custodians who Jones, Barbara
                      possessed this item or exact duplicates
                      thereof.
RecordType            Type of item being produced                   Email, Email Attachment,
                                                                    Electronic Document,
                                                                    Hardcopy Document
FilePath              Original location of the file when            C:\My Documents\Deal
                      collected from the source custodian or        Documents
                      system
FileSize              Size of the native file document/email in     3,547
                      KB
Prod_Native           File path to the native file on the           Prefix001\NATIVES\000\
                      production media if applicable (a.k.a.        Prefix00000001.msg
                      production file path)
Prod_Text             File path to the extracted text file on the   Prefix001\TEXT\000\
                      production media                              Prefix00000001.msg
MD5Hash               The MD5 hash value for the item
SHA1Hash              The SHA-1 hash value for the item
Designation           The confidentiality designation of the        Confidential, Highly
                      document, if any                              Confidential
Redaction             For documents containing redactions, the Privileged, Personal,
                      basis for such redactions                Proprietary
Additional Document Metadata Fields for Electronic Documents and Attachments
FileName              Original name of the file when collected      exampledoc.doc, file.xls
                      from the source custodian or system
FileExt               File type extension of native file            xls, doc, ppt, mp3
FileType              File type or application used to create the Excel, Word, PowerPoint,
                      underlying native file                      MP3
Title                 Title of the document                         Purchase Agreement
Author                Author of the document                        Barbara Jones
TimeZone              The time zone in which electronic             GMT
                      documents were standardized during
                      conversion.
MasterDate            For emails and their attachments, the         MM/DD/YYYY
                      sent date of the parent email
MasterTime            For emails and their attachments, the         HH:MM:SS
                      sent time of the parent email, using a 24-
                      hour clock

                                              3
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Metadata Field       Description                                  Examples
DateCreated          Date the item was created                    MM/DD/YYYY
TimeCreated          Time the item was created, using a 24-       HH:MM:SS
                     hour clock
DateLastModified     Date the item was last modified              MM/DD/YYYY
TimeLastModified     Time the item was last modified, using a     HH:MM:SS
                     24-hour clock
Additional Document Metadata Fields for Email and Other Electronic Communications
DateSent             Date the email message was sent, using a     MM/DD/YYYY
                     24-hour clock
TimeSent             Time the email message was sent, using       HH:MM:SS
                     a 24-hour clock
Date Received        Date the email message was received,         MM/DD/YYYY
                     using a 24-hour clock, in Greenwich
                     Mean Time (GMT)
TimeReceived         Time the email message was received,         HH:MM:SS
                     using a 24-hour clock
To                   Addressee(s) of the email message            Barbara Jones
                                                                  barbarajones@co.com
From                 Name and email address of the person         Barbara Jones
                     who sent the email message                   barbarajones@co.com
CC                   Recipient(s) included in the “cc” line of    Barbara Jones
                     the email message                            barbarajones@co.com
BCC                  Recipient(s) included in the “bcc” line of   Barbara Jones
                     the email message                            barbarajones@co.com
Subject              Subject line of the email message            FW: your message
EmailPath            The original location of email               Personal Folders\Sent
                                                                  Items\
Conversation Index   A field indicating whether an email
                     message is part of a conversation thread
                     with other email messages.




                                            4
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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


    In Re: New York City Policing
    During Summer 2020 Demonstrations                           20 Civ. 8924 (CM)(GWG)


    This filing is related to:

    ALL CASES



     PLAINTIFFS’ FIRST CONSOLIDATED SET OF INTERROGATORIES TO ALL
                              DEFENDANTS

         Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Local Civil

Rules 26.3 and 33.3 of the Southern District of New York, plaintiffs in these consolidated

actions1 (“Plaintiffs”) request that defendants City of New York, Mayor Bill de Blasio, New

York City Police Department (“NYPD”) Police Commissioner Dermot F. Shea, and other

defendants named in the pleadings in these actions (“Defendants”), answer the following

interrogatories under oath, and separately and fully in writing, within thirty (30) days of

service hereof, or such shorter time as the Court orders or the parties stipulate.




1
  Pursuant to the Court’s February 22, 2021 Order (ECF No. 40), the following cases have been consolidated for
pretrial purposes: Payne, et al, v. Mayor Bill De Blasio, No. 20 Civ. 8924; Sierra, et al, v City of New York, No. 20
Civ. 10291; Wood v. City of New York, No. 20 Civ. 10541; People of the State of New York v City of New York, No.
21 Civ. 322; Sow, et al, v. City of New York, 21 Civ. 533 and Yates v. City of New York et al, 21 Civ. 1904. Plaintiffs
in all consolidated actions hereby serve their first consolidated set Interrogatories to all Defendants in the
consolidated actions without prejudice to plaintiffs in any given action supplementing these consolidated
Interrogatories with additional case-specific Interrogatories.
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                                    DEFINITIONS

1. Plaintiffs incorporate by reference herein the Uniform Definitions in Discovery Requests

   set out in Rule 26.3 of the Local Civil Rules of the United States District Court for the

   Southern and Eastern Districts of New York (the “Local Civil Rules”).

2. “Arrest” means an Officer’s seizure, detention, or arrest of a person, including but not

   limited to for the purpose of issuing them a C-Summons (“summons”) or Desk

   Appearance Ticket (“DAT”) or fully processing them for arraignment.

3. “City” and “NYPD” are to be construed to include each other, such that a request for the

   names of certain NYPD employees, e.g., should be construed to include employees of

   any agency of the City of New York.

4. “Complaints” means the Complaint, or any superseding amended Complaint, filed in

   each of these consolidated actions: Payne, et al, v. Mayor Bill De Blasio, No. 20 Civ.

   8924; Sierra, et al, v. City of New York, No. 20 Civ. 10291; Wood v. City of New York,

   No. 20 Civ. 10541; People of the State of New York v. City of New York, No. 21 Civ. 322;

   and Sow, et al, v. City of New York, 21 Civ. 533; Yates v. City of New York et al, 21 Civ.

   904 (together, the “Actions”).

5. “Date” means the exact day and time, month, and year if ascertainable, or if not, the best

   approximation (including relationship to other events).

6. “Defendants” include each and every defendant named in the Complaints.

7. “Identify” means, in addition to any specific instructions or requested information in an

   Interrogatory, the response must state:




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       a. when referring to an oral communication, the date, subject matter, communicator,

           recipient of the communication, nature of the communication, whether it was

           recorded, and identity of any witness thereto.

       b. when referring to a document, the type of document (e.g. letter, memorandum,

           email, excel chart, etc.), date, author or originator, addressee(s), signatories, title

           or subject matter, present location, and the name and address of the current

           custodian of such document or, if unknown, the present custodian of any copy

           thereof and the last known address of each such custodian.

       c. when referring to a person, to the extent known, the person’s full name, present or

           last known complete address, and, in addition, when referring to a natural person,

           the person’s present or last known place of employment or business affiliation

           (including complete address), position, and the person’s place of employment

           during the relevant time period, defined in the Instructions below.

8. “Officer” means a member of service of the NYPD, regardless of rank, including but not

   limited to any and all officers, detectives, sergeants, lieutenants, captains, chiefs, and/or

   deputy commissioners.

9. “Person” means any natural person, association, business, group, organization, legal

   entity, government entity, or other entity.

10. “Protests” means any and all protests, demonstrations, or gatherings at the Protest

   Locations identified on the attached Schedule A and/or referenced in any of the

   Complaints.




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                                    INSTRUCTIONS

1. Each interrogatory operates and shall be responded to independently, and unless

   otherwise indicated, no interrogatory limits the scope of any other interrogatory.

2. If an objection is made to any part of an interrogatory, the response shall state that there

   is an objection to the interrogatory and the legal and factual basis for such objection.

3. No part of an interrogatory shall be left unanswered merely because an objection is made

   to another part of the interrogatory.

4. If any interrogatory demands an answer that any Defendant claims may be withheld due

   to privilege, work product or any other privilege or immunity from disclosure,

   Defendants shall answer any portion of the interrogatory that is not subject to such a

   claim, and shall indicate with specificity and particularity the basis of said withholding,

   including:

       a. the identity of the person(s) having knowledge of the information;

       b. the identity of all persons to whom the information was communicated or

           otherwise made available;

       c. the job title or position of every person identified in response to subparagraphs

           (a)and (b);

       d. the date(s) on which the information was received or became known by each

           person having knowledge of its existence;

       e. a brief description of the nature and subject matter of the information; and the

           statute, rule or decision that is claimed to give rise to the privilege.

5. If the response to any interrogatory consists in whole or in part of an objection based

   upon undue burden, then with respect to such response: (a) provide such information as


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   can be ascertained without undue burden; and (b) state with particularity the basis for

   such objection, including a description of the process or method required to obtain the

   response to the interrogatory and the estimated cost and time required to obtain the

   response to the interrogatory.

6. If Defendants cannot answer any interrogatory in full after exercising due diligence to

   secure the information to do so, please so state and answer the interrogatory to the extent

   possible, explaining any inability to answer the remainder of any such interrogatory and

   stating all information or knowledge presently available to Defendants concerning the

   unanswered portion of said interrogatory.

7. Unless otherwise indicated, the relevant time period for purposes of these Interrogatories

   is between May 1, 2020, until the present.

8. In addition to following the rules of construction in Rule 26.3(d) of the Local Civil Rules,

   whenever necessary to bring within the scope of the interrogatory responses that might be

   otherwise construed outside to be outside their scope, construe:

       a. the use of the singular form of any word as including the plural and vice versa;

       b. the use of a verb in any tense as the use of that verb in all other tenses; and

       c. the use of the feminine, masculine, or neuter genders as including all genders.

9. The Interrogatories are continuing in nature. In accordance with Rule 26(e) of the Federal

   Rules of Civil Procedure, Defendants are required promptly to serve supplementary

   responses and produce additional documents if Defendants obtain further or different

   information.




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                                     INTERROGATORIES

Interrogatory No. 1:

For each Protest Location listed on the attached Schedule A, identify each and every Officer

present, deployed, or otherwise involved in performing official duties at or near such Protest

Location, including but not limited to the Officer’s full name, shield number, tax identification

number, assigned command, and rank of each Officer, and their assignment post, including the

time present at each Protest Location.

Interrogatory No. 2:

For each Protest Location listed on the attached Schedule A, identify each and every Incident

Commander(s) in command.

Interrogatory No. 3:

For each Protest Location listed on the attached Schedule A, identify the Highest Ranking

Patrol Service Borough Uniformed member on scene.

Interrogatory No. 4:

For each Protest Location listed on the attached Schedule A, identify each and every Officer

from the NYPD Legal Bureau who was involved in the police response.

Interrogatory No. 5:

For each Protest Location listed on the attached Schedule A, identify each and every NYPD

Strategic Response Group (“SRG”) Officer assigned or who performed any of the

“Assignments” described in Sections I and II of the March 2019 SRG Guide.

Interrogatory No. 6:

For each Protest Location listed on the attached Schedule A, identify each and every person

who NYPD personnel stopped, detained, questioned, or Arrested (including those released and


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issued summonses or desk appearance tickets, or who were processed “on-line”) at or near such

Protest Location, including but not limited to:

   a) the person’s full name, address, phone number, date of birth, arrest number, summons

       number, New York State Identification Number (NYSID), desk appearance ticket

       identifier, Stop Report number, and any other personal or NYPD identifying information;

       and

   b) the full name, rank, shield number, tax identification number, and assigned command, of

       all Officers involved in each of the encounters with persons identified in this

       interrogatory.

Interrogatory No. 7:

Identify each and every individual who has submitted a complaint to any agency of the City

(including but not limited to the Civilian Complaint Review Board (“CCRB”), the NYC

Department of Investigation (“DOI”), or the NYC Law Department), and/or NYPD by any

means, directly or indirectly including complaints filed with other New York City agencies that

were forwarded to the NYPD or any other entity for investigation or reference, regarding any

interaction with or observation of NYPD personnel at or near the Protest Locations listed on the

attached Schedule A.

Interrogatory No. 8:

Identify each and every Officer associated with or otherwise involved in the factual

circumstances giving rise to any and all Complaints by persons identified in response to

Interrogatory No. 7 above.




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Interrogatory No. 9:

Identify each and every Officer who was disciplined, or recommended to receive such discipline,

for conduct occurring at or relating to any of the Protests occurring at or near the Protest

Locations listed on the attached Schedule A.

Interrogatory No. 10:

Identify each and every individual employed by the City or any of its agencies, including the

Office of the Mayor, who communicated with NYPD personnel regarding the NYPD’s response

to the Protests occurring at or near the Protest Locations listed on the attached Schedule A.

Interrogatory No. 11:

Identify any and all personnel of the Office of the Mayor or the Mayor’s Office of Criminal

Justice present at any of the Protests listed on the attached Schedule A.

Interrogatory No. 12:

For each plaintiff or person identified in the Complaints, and for each other person identified in

response to Interrogatory No. 6 above, identify each and every Officer who directly observed

that person or their conduct.

Interrogatory No. 13:

For each plaintiff or person identified in the Complaints, and for each other person identified in

response to Interrogatory No. 6 above, identify each and every Officer who determined there

was probable cause to Arrest that person, prior to their Arrest.

Interrogatory No. 14:

Identify each event since 2000 in connection with which the NYPD opened up or utilized a Mass

Arrest Processing Center, including in compliance with the NYPD Patrol Guide provisions and

other policies related to making and processing mass and/or large-scale arrests


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 Dated: March 25, 2021


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                                 Schedule A: List of Protest Locations2

    Protest Date                   Approximate Location                            Complaint Allegations
    No.
    1       May 28, 2020           Lafayette Street to City Hall,         People, ¶ 51
                                   Manhattan                              Sow, ¶ 65
    2       May 28, 2020           Union Square, Manhattan                People, ¶¶ 128-132
                                                                          Payne, ¶ 44
                                                                          Sow, ¶ 65
    3       May 29, 2020           Foley Square Manhattan to Near         People, ¶¶ 52, 193-195,
                                   Barclays Center, Brooklyn via          196-202
                                   Brooklyn Bridge                        Payne, ¶ 45
                                                                          Sow, ¶ 65
                                                                          Wood, ¶¶ 45-47
    4       May 29, 2020           Clinton Hill, Brooklyn                 People, ¶¶ 52, 133-140,
                                                                          223-226
    5       May 29, 2020           Fort Greene, Brooklyn                  People, ¶ 52
    6       May 29, 2020           Bedford-Stuyvesant, Brooklyn           People, ¶¶ 141-149,
                                   (Herbert von King Park), Brooklyn      161-163
    7       May 29, 2020           Pacific Street and Flatbush Avenue,    People, ¶¶ 215-219
                                   Brooklyn                               Wood, ¶¶ 48-50
    8       May 29, 2020           Union Square, Manhattan                People, ¶ 52
    9       May 29, 2020           Herald Square, Manhattan               People, ¶ 52
    10      May 30, 2020           Jackson Heights, Queens                People, ¶ 53
    11      May 30, 2020           Park Slope, Brooklyn                   People, ¶ 53
    12      May 30, 2020           East Flatbush, Brooklyn                People, ¶¶ 53, 312-317
                                                                          Sow, ¶ 67
    13      May 30, 2020           Near Bedford & Tilden Aves.,           People, ¶¶ 178-192,
                                   Brooklyn                               235-236
    14      May 30-31,             Barclays Center to Flatbush Extension, People, ¶¶ 203-207,
            2020                   Brooklyn                               107-114
                                                                          Payne, ¶¶ 47-48, 107-
                                                                          115
    15      May 30, 2020           Harlem / West Side Highway,            People, ¶¶ 402-407
                                   Manhattan
    16      May 30, 2020           Union Square to FDR Drive/Lower        Payne, ¶¶ 50, 117-123
                                   East Side, Manhattan                   Sow, ¶¶ 130-151
    17      May 30, 2020           City Hall to Brooklyn Bridge,          Sow, ¶¶ 152-177
                                   Manhattan
    18      May 31, 2020           Near Barclays Center, Brooklyn         People, ¶ 54
                                                                          Sow, ¶ 68

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 The allegations listed in this table reference those in the Amended Complaints in People, No. 21 Civ. 322 (ECF
No. 51), Payne, No. 20 Civ. 8224 (ECF No. 54), Sierra, No. 20 Civ. 10291 (ECF No. 38), Sow, 21 Civ. 533 (ECF
No. 49) and Wood, 20 Civ. 10541 (ECF No. 48) and the Complaint in Yates, No. 21 Civ. 1904 (ECF No. 1).

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Protest Date           Approximate Location                   Complaint Allegations
No.
19      May 31, 2020   Downtown Brooklyn to multiple          People, ¶ 54
                       bridges
20      May 31, 2020   Brooklyn Bridge                        People, ¶ 54
21      May 31, 2020   From Manhattan Bridge to Chinatown,    People, ¶ 54
                       Church Avenue, and/or across Canal     Yates, ¶¶ 13-21
                       Street, Manhattan                      Wood, ¶¶ 51-54
22      May 31, 2020   Near Williamsburg Bridge, Manhattan    People, ¶ 54
23      May 31, 2020   Broadway to E. 11th St. & Near Union   People, ¶¶ 155-160,
                       Square, Manhattan                      231-234

                                                              Payne, ¶¶ 125-130
24      May 31, 2020   Times Square, Manhattan                People, ¶ 54
25      May 31, 2020   F.D.R. Drive, Manhattan                People, ¶¶ 208-210
26      June 1, 2020   Midtown, Manhattan                     People, ¶¶ 55, 227-230
                                                              Payne, ¶ 53
                                                              Sow, ¶¶ 208-219
27      June 1, 2020   East Village, Manhattan                People, ¶ 55
28      June 1, 2020   Near Union Square Park, Manhattan      People, ¶ 55
                                                              Payne, ¶ 53
29      June 1, 2020   Near Barclays Center, Brooklyn,        People, ¶ 55
                       Crossing Manhattan Bridge into Times   Sow, ¶¶ 180-206
                       Square & Near Port Authority,
                       Manhattan
30      June 1, 2020   Fordham Manor, Bronx                   People, ¶ 55
31      June 1, 2020   Astoria Park, Queens                   People, ¶ 55
32      June 1, 2020   Flushing, Queens                       People, ¶ 55
33      June 2, 2020   Lower Manhattan/Foley Square to        People, ¶¶ 56, 318-323
                       Central Park, Manhattan                Payne, ¶¶ 131-136
34      June 2, 2020   Union Square, Manhattan                People, ¶¶ 56
35      June 2, 2020   Near Barclays Center, Brooklyn to      People, ¶¶ 330-336
                       Manhattan Bridge
36      June 2, 2020   Upper West Side, Manhattan             People, ¶¶ 56, 423-430
37      June 2, 2020   Astor Place, Manhattan                 People, ¶ 56
38      June 2, 2020   Chelsea, Manhattan                     People, ¶ 56
                                                              Payne, ¶ 54
39      June 2, 2020   Near West Side Highway, Manhattan      Payne, ¶ 54
                                                              Sow, ¶¶ 220-237, 239-
                                                              282
40      June 2, 2020   Bryant Park to Midtown, Manhattan      People, ¶ 57
                                                              Wood, ¶¶ 55-59

41      June 3, 2020   Cadman Plaza, Brooklyn                 People, ¶¶ 57, 164-168,
                                                              337-346
                                                              Payne, ¶¶ 55, 143-159
                                        2
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Protest Date            Approximate Location                 Complaint Allegations
No.
                                                             Sow, ¶ 83
                                                             Wood, ¶¶ 65-66
42      June 3, 2020    Maria Hernandez Park, Brooklyn       People, ¶ 57
43      June 3, 2020    Midtown East/Upper East Side,        People, ¶¶ 57, 237-246,
                        Manhattan                            347-354
                                                             Sow, ¶ 84-85, 284-309
                                                             Wood, ¶¶ 60-64
44      June 4, 2020    Mott Haven, Bronx                    People, ¶¶ 58, 169-170,
                                                             247-255, 284-310, 366-
                                                             387
                                                             Wood, ¶¶ 116-167
                                                             Payne, ¶¶ 59-65, 161-
                                                             173, 182-192, 194-200
                                                             Sierra, ¶¶ 41-124
                                                             Sow, ¶¶ 86-93, 310-329,
                                                             332-345, 348-390, 392-
                                                             418
45      June 4, 2020    McCarren Park to South               People, ¶¶ 355-365
                        Williamsburg, Brooklyn               Payne, ¶¶ 58, 202-206
                                                             Wood, ¶¶ 67-68
                                                             Sow, ¶ 84-85
46      June 4, 2020    Clinton Hill and Prospect Heights,   People, ¶ 59
                        Brooklyn
47      June 4, 2020    Flatbush, Brooklyn                   People, ¶ 59
48      June 4, 2020    Brooklyn Bridge                      People, ¶ 59
49      June 4, 2020    Midtown, Manhattan                   People, ¶ 59
50      June 4, 2020    Flushing, Queens                     People, ¶ 59
51      June 4, 2020    Central Park West, Manhattan         People, ¶ 59
52      June 5, 2020    Crown Heights, Brooklyn              People, ¶ 60
53      June 5, 2020    Sunset Park, Brooklyn                People, ¶ 60
54      June 5, 2020    Staten Island                        People, ¶ 60
55      June 5, 2020    Near Gracie Mansion, Manhattan       People, ¶ 60
56      June 5, 2020    Barclays Center to Downtown          People, ¶ 60
                        Brooklyn
57      June 5, 2020    Nostrand Ave., Brooklyn              Payne, ¶ 71
58      June 6, 2020    Financial District, Manhattan        People, ¶ 61
59      June 7, 2020    Upper East Side, Manhattan           People, ¶ 61
60      June 8, 2020    Times Square, Manhattan              People, ¶ 61
61      June 14, 2020   Times Square, Manhattan              Payne, ¶ 74
62      June 28, 2020   Foley Square to West Village,        People, ¶ 62
                        Manhattan (incl. Washington Square   Payne, ¶¶ 78, 174-180,
                        Park)                                209-210
63      June 23-30,     City Hall Park, Manhattan            Payne, ¶ 74
        2020
                                         3
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Protest   Date              Approximate Location                   Complaint Allegations
No.
64        July 3, 2020      City Hall Park, Manhattan              People, ¶ 63
65        July 11, 2020     Dyker Heights, Brooklyn                Sow, ¶ 101
66        July 12, 2020     Bay Ridge, Brooklyn                    Sow, ¶ 102
67        July 15, 2020     Brooklyn Bridge Pedestrian Path        People, ¶¶ 408-421
68        July 28, 2020     Kips Bay, Manhattan                    People, ¶ 64
69        September 11,     McCarren Park, Brooklyn                People, ¶ 65
          2020
70        September 17,     Foley Square, Manhattan                Payne, ¶ 76
          2020
71        September 19,     Times Square, Manhattan                Payne, ¶ 77
          2020
72        September 26,     Washington Square Park and Near        People, ¶ 66
          2020              Sixth Precinct Stationhouse,
                            Manhattan
73        October 6, 2020   Borough Park, Brooklyn                 Sow, ¶ 103
74        October 7, 2020   Bedford-Stuyvesant, Brooklyn           People, ¶ 67
75        October 25,       Coney Island, Brooklyn to near Trump   Sow, ¶ 104
          2020              Tower, Manhattan, to Brooklyn Park
76        November 1,       Hell’s Kitchen, Manhattan              Sow, ¶ 105
          2020
77        November 4,       Washington Square Park, W. 8th and     People, ¶¶ 68, 388-389
          2020              Greenwich Ave., Manhattan
78        November 4,       Central Park to Union Square,          People, ¶ 68, 390-393
          2020              Manhattan                              Payne, ¶ 78
79        November 5,       West Village to Union Square,          People, ¶ 69
          2020              Manhattan                              Payne, ¶ 79
80        December 2,       Staten Island                          Sow, ¶ 106
          2020
81        December 11,      Downtown Brooklyn                      People, ¶ 70
          2020
82        January 12-16,    Downtown Brooklyn                      Payne, ¶ 138
          2021
83        January 18,       Barclays Center, Brooklyn to City Hall People, ¶¶ 71, 112-113
          2021              Park, Manhattan                        394-398
                                                                   Payne, ¶¶ 80, 139-140




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